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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                    Chapter 11

NORTEL NETWORKS INC., et al.,1                            Case No. 09-10138 (KG)

                                   Debtors.               (Jointly Administered)

                                                          Hearing Date: February 28, 2017 at 9:00 a.m.
                                                          Re: D.I. 17957

                                   AFFIDAVIT OF ERIC J. MONZO

State of Delaware                  :
                                   : ss.
County of New Castle               :

           Eric J. Monzo, being duly sworn, deposes and says:

                  1.      I am a partner of the law firm of Morris James LLP. I submit this affidavit

in support of the Indenture Trustee Delaware Trust Company’s Brief in Support of Payment of

Fees and Expenses and to put before the Court certain documents cited therein. The statements

made herein are true and correct to the best of my knowledge and belief.

                  2.      Attached hereto as Exhibit A is a true and correct copy of a letter (with

attachments) from James Tecce to Daniel Lowenthal and James Masella dated February 3, 2017.

                  3.      Attached hereto as Exhibit B is a true and correct copy of a Reuters news

article dated January 24, 2017 and titled “Nortel cleared to end bankruptcy, distribute $7 billion




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number,
are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769),
Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251),
CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical
Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel
Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable Solutions
Inc. (0567), and Nortel Networks (CALA) Inc. (4226).
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to creditors” available at http://www.reuters.com/article/us-nortelnetworks-bankruptcy-

idUSKBN1582TO.

               4.     Attached hereto as Exhibit C is a true and correct copy of a Wall Street

Journal news article dated January 24, 2017 and titled “Nortel Networks Wins Approval to

Distribute $7.3 Billion to Creditors,” available at https://www.wsj.com/articles/nortel-networks-

wins-approval-to-distribute-7-3-billion-to-creditors-1485296882.

               5.     Attached hereto as Exhibit D is a true and correct copy of the 132nd

Report of the Monitor dated November 16, 2016.

               6.     Attached hereto as Exhibit E is a true and correct copy of the January 12,

2017 Order of Justice Newbould approving the 1988 Bond Claims in the Canadian Debtors’

cases.

               7.     Attached hereto as Exhibit F is a true and correct copy of the transcript of

the hearing held before this Court on January 25, 2017.

               8.     Attached hereto as Exhibit G is a true and correct copy of the Amended

Appointment of Official Committee of Unsecured Creditors, dated September 6, 2012, In re: MF

Global Holdings Ltd., et al., Case No. 11-15059 (Bankr. S.D.N.Y.) [D.I. 819].

               9.     Attached hereto as Exhibit H is a true and correct copy of the Second

Amended Appointment of Official Committee of Unsecured Creditors, dated March 5, 2010, In re

Motors Liquidation Company et al., f/k/a General Motors Corp. et al., Case No. 09-50026

(Bankr. S.D.N.Y.) [D.I. 5201].

               10.    Attached hereto as Exhibit I is a true and correct copy of the Third

Amended Appointment of Committee of Unsecured Creditors, dated February 9, 2010, In re

Lehman Brothers Holdings Inc., et al., Case No. 08-13555 (Bankr. S.D.N.Y.) [D.I. 7034].



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               11.    Attached hereto as Exhibit J is a true and correct copy of the Notice of

Appointment of Committee of Unsecured Creditors, dated October 15, 2008, In re: Washington

Mutual, Inc., et al., Case No. 08-12229 (Bankr. D. Del.) [D.I. 78].

               12.    Attached hereto as Exhibit K is a true and correct copy of the Third

Amended Notice of Appointment of Committee of Unsecured Creditors, dated July 20, 2016, In

re: Energy Future Holdings Corp., et al., Case No. 14-10979 (Bankr. D. Del.) [D.I. 8955].

               13.    Attached hereto as Exhibit L is a true and correct copy of the Notice of

Appointment of Committee of Unsecured Creditors, dated May 13, 2014, In re: Energy Future

Holdings Corp., et al., Case No. 14-10979 (Bankr. D. Del.) (Bank of New York Mellon, Law

Debenture and Wilmington Savings Fund Society) [D.I. 420].

               14.    Attached hereto as Exhibit M is a true and correct copy of the

Appointment of Official Committee of Unsecured Creditors, dated December 5, 2011, In re:

AMR Corporation, et al., Case No. 11-15463 (Bankr. S.D.N.Y.) [D.I. 128].

               15.    Attached hereto as Exhibit N is a true and correct copy of the

Appointment of Official Committee of Unsecured Creditors, dated January 25, 2012, In re:

Eastman Kodak Company, et al., Case No. 12-10202 (Bankr. S.D.N.Y.) [D.I. 115].

               16.    Attached hereto as Exhibit O is a true and correct copy of the Order

Granting Motion of Law Debenture Trust Company of New York, in Its Capacity as Indenture

Trustee, for Entry of an Order Partially Allowing and Liquidating Proof of Claim for Fees and

Expenses; Incurred From April 11, 2012 Through and Including June 30, 2012, dated July 26,

2012, In re: Washington Mutual, Inc., et al., Case No. 08-12229 (MFW)(Bankr. D. Del.) [D.I.

10461].




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              17.     Attached hereto as Exhibit P is a true and correct copy of the Transcript

of Deposition of John McConnell dated April 4, 2014.

              18.     Attached hereto as Exhibit Q is a true and correct copy of the transcript of

the hearing held before this Court on January 24, 2017.

              19.     Attached hereto as Exhibit R is a true and correct copy of the transcript of

the hearing held before this Court on February 9, 2017.

              20.     Attached hereto as Exhibit S is a true and correct copy of an e-mail from

Steve Blauner to Daniel Lowenthal dated December 26, 2012 at 10:38 a.m. and a response from

Daniel Lowenthal to Steven Blauner dated December 28, 2012 at 12:09 p.m., produced in this

action as IT00003102 - IT00003104.

              21.     Attached hereto as Exhibit T is a true and correct copy of an e-mail from

James Tecce to Daniel Lowenthal dated June 29, 2016 at 7:25 a.m., produced in this action as

IT00003634.

              22.     Attached hereto as Exhibit U is a true and correct copy of an e-mail from

James Tecce to Daniel Lowenthal dated June 29, 2016 at 8:35 a.m., produced in this action as

IT00003635.

              23.     Attached hereto as Exhibit V is a true and correct copy of an e-mail from

Craig Dent to James Tecce dated June 29, 2016 at 10:11 a.m., produced in this action as

IT00003642 – IT00003644.

              24.     Attached hereto as Exhibit W is a true and correct copy of an e-mail from

Daniel Holzman to Brian Guiney, Lisa Schweitzer, Daniel Lowenthal and James Tecce dated

November 17, 2016 at 3:19 p.m., produced in this action as IT00014584 - IT00014589.




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